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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON
     TALCUM POWDER PRODUCTS                               Case No. 3:16-md-2738-MAS-RLS
     MARKETING, SALES PRACTICES
                                                          MDL Case No. 2738
     AND PRODUCTS LIABILITY
     LITIGATION




           AMENDED NOTICE OF SUBPOENA FOR DEPOSITION UPON
                        WRITTEN QUESTIONS

           PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 31 and 45,

    defendants Johnson & Johnson and LLT Management LLC (“Defendants”) hereby notify all

    parties of the attached Subpoena to Testify at a Deposition in a Civil Action (Upon Written

    Questions), which will be served by electronic mail upon Fouad Kurdi, Esq., Resolutions, LLC,

    30 Monument Square, Ste. 245, Concord, MA 01742, on April 2, 2024, and, should Mr. Kurdi

    not agree to accept service by email, by subsequent, personal service.

           The deposition upon written questions shall be taken before the following officer,

    Veritext Legal Solutions, 101 Arch Street, Suite 650, Boston, MA 02110, or such other officer as

    shall be agreed to by Defendants and Mr. Kurdi.

    Dated: April 2, 2024                         By: /s/ Stephen D. Brody
                                                 Stephen D. Brody
                                                 O’MELVENY & MYERS LLP
                                                 1625 Eye Street N.W.
                                                 Washington, D.C. 20006
                                                 Tel.: 202-383-5300
                                                 sbrody@omm.com


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                                      Susan M. Sharko
                                      FAEGRE DRINKER BIDDLE & REATH LLP
                                      600 Campus Drive
                                      Florham Park, NJ 07932
                                      Tel: 973-549-7000
                                      susan.sharko@faegredrinker.com

                                      Attorneys for Defendant Johnson & Johnson and
                                      LLT Management LLC




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AO 88A (Rev.   / ) Subpoena to Testify at a Deposition in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                           DistrictDistrict
                                                      __________    of NewofJersey
                                                                              __________

                                                                              )
                             Plaintiff                                        )
                                v.                                            )      Civil Action No.
                                                                              )
                                                                              )
                            Defendant                                         )

                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                     (Name of person to whom this subpoena is directed)




 Place:                                                                               Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                CLERK OF COURT
                                                                                        OR

                                         Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                         .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         SCHEDULE A

             DIRECT QUESTIONS TO BE PROPOUNDED TO THE WITNESS

    1.   On March 25, 2024, during a hearing before New Jersey Superior Court Judge John C.
         Porto and United States Magistrate Judge for the District of New Jersey Ruksanah L.
         Singh, on Johnson & Johnson’s and LTL Management LLC’s Motions for Order to Show
         Cause Why Andy Birchfield and Beasley Allen Should Not Be Disqualified from
         representing plaintiffs in MCL Case No. 300 and MDL Case No. 2738, counsel for
         Beasley Allen and Mr. Birchfield stated: (1) “Were you aware that it was the mediators
         in the LTL 2 – the LTL matter that requested that Mr. Conlan participate?”; and (2) “you
         cannot answer the question whether the mediators asked that Mr. Conlan participate in
         trying to reach a resolution; is that correct?” (March 25, 2024 Hr’g Tr. 289:2-4, 289:17-
         20.)

         Confirm that you did not request that former Faegre Drinker Biddle & Reath LLP partner
         James Conlan participate with the Tort Claimants Committee in the LTL 2 mediation.

         Answer:
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________

    2.   Confirm that you were not aware at any time prior to December 5, 2023, when Johnson &
         Johnson and LTL Management LLC filed a Motion for Order to Show Cause Why Andy
         Birchfield and Beasley Allen Should Not Be Disqualified from MDL Case No. 2738, In
         re Johnson & Johnson Talcum Products Marketing, Sales Practices and Products
         Liability Litigation, that James Conlan had previously represented Johnson & Johnson as
         outside counsel in the talcum powder products litigation as a partner at Faegre Drinker
         Biddle & Reath LLP.

         Answer:
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________



                                (Questions continued on next page)
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    3.   Confirm that if served with a subpoena for deposition upon written questions in In re
         Talc-Based Powder Products Litigation, Case No. ATL L-2648-15, MCL Case 300 (N.J.
         Super. Ct., Atlantic Cnty.), your answers to the foregoing two questions would be the
         same.

         Answer:
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________
         ________________________________________________________________________




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